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                        UNITED STATES DISTRICT COURT

                              DISTRICT OF COLUMBIA

_________________________________
                                  )
UNITED STATES OF AMERICA          )             23-CR-00427-DLF
      PLAINTIFF                   )
                                  )
      VS.                         )
                                  )
DAN EDWIN WILSON                  )
      DEFENDANT                   )             FEBRUARY 7, 2025
_________________________________ )



              MR. WILSON’S REPLY TO GOVERNMENT’S MEMORANDUM
                  REGARDING SCOPE OF PRESIDENTIAL PARDON

       By way of a minute order docketed on February 3, 2025, the Court

ordered brieﬁng on the following topic: “[W]hy the Court should not order the

defendant to self-report to the Bureau of Prisons to serve the remainder of his

sentence on ﬁrearms offenses, which are unrelated to the defendant’s criminal

conduct on January 6, 2021.” 1 Mr. Wilson’s answer is simple: The Court should


      1 Herewith the minute order:

 02/03/2025     MINUTE ORDER as to DAN EDWIN WILSON (1). On May 17, 2024, Mr.
                Wilson pled guilty to Counts 1 and 2 of the Indictment in No. 3:23-cr-3
                (W.D. Ky.), which charged him with Possession of a Firearm by a Prohibited
                Person, in violation of 18 U.S.C. §§ 922(g)(1) & 924(a)(2), and Possession
                of an Unregistered Firearm, in violation of 26 U.S.C. §§ 5841, 5861(d), &
                5871. See 56 Plea Agreement. Mr. Wilson also pled guilty to Count 1 of

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not issue such an order because it has neither personal jurisdiction over Mr.

Wilson nor subject matter jurisdiction over the issue at hand. Simply put, the

Court has no authority to act.

      The legal landscape in which this issue arises is at once novel and bizarre.

Mr. Wilson is among some 1500 persons pardoned by President Donald Trump

on his ﬁrst day in office. The pardon extended to all but 14 individuals convicted


               the 54 Second Superseding Information, which charged him with
               Conspiracy to Impede or Injure an Officer, in violation of 18 U.S.C. §
               372. See 56 Plea Agreement. On August 28, 2024, the Court sentenced Mr.
               Wilson to a term of imprisonment of 5 years (60 months) on Count 1 of the
               Second Superseding Information, to run concurrently with Counts 1 and 2 of
               the Indictment in No. 3-23-cr-3 (W.D. Ky.). See 79 Judgment.

               Subsequently, on January 20, 2025, the President issued "a full, complete
               and unconditional pardon to... individuals convicted of offenses related to
               events that occurred at or near the United States Capitol on January 6,
               2021." See Granting Pardons And Commutation Of Sentences For Certain
               Offenses Relating To The Events At Or Near The United States Capitol On
               January 6, 2021 (Jan. 20, 2025), https://www.whitehouse.gov/presidential-
               actions/2025/01/granting-pardons-and-commutation-of-sentences-for-
               certain-offenses-relating-to-the-events-at-ornear-the-united-states-capitol-
               on-january-6-2021/ (last visited Feb. 3, 2025). Thereafter, Mr. Wilson was
               released from custody by the Bureau of Prisons.

               On or before February 6, 2025, the government shall file a brief, with
               supporting legal authority, that sets forth its position as to why the Court
               should not order the defendant to self-report to the Federal Bureau of
               Prisons to serve the remainder of his sentence on the firearms offenses,
               which are unrelated to the defendant's criminal conduct on January 6, 2021.
               The defendant shall file any response on or before February 10, 2025. So
               Ordered by Judge Dabney L. Friedrich on February 3, 2025. (lcdlf2)

               (Entered: 02/03/2025)


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or charged in connection with their participation in the riot at the Capitol on

January 6, 2021. Of the fourteen commuttees, whose sentences were

commuted to time served, one individual, Jeremy Bertino, was not even

sentenced. Neither is there rhyme nor reason for the distinction between those

pardoned and those receiving a commutation: Most of those recurring

commutations were convicted of seditious conspiracy, but one, Enrique Tarrio,

president of the Proud Boys, enjoyed a full pardon. Some but not all of those

receiving commutations were convicted of 18 U.S.C. Section 111, assault on a

peace officer. However, many individuals pardoned were convicted of assault.

No discernable principled basis exists for who was pardoned and who was not.

Consistency of principle is not required in application of the president’s pardon

power.


      The treatment of those pardoned by the Executive Branch admits of some

principled distinctions. The Department of Justice apparently is moving to

dismiss every pending appeal by a January 6 defendant, seeking to have the

cases of those with pending appeals remanded to the District Court so that the

convictions can be vacated, as was Mr. Tarrio’s this very day. Those pardonees

without a pending appeal are not entitled to a dismissal of their charges. This is

apparently because the lack of a case pending before the judicial branch

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deprives the Court of jurisdiction to act on their cases. The Justice Department

gives the beneﬁt of an eventual dismissal to all appellants, regardless of the

merits of their appeal. Those pardoned without appeals pending are not offered

the beneﬁt of a pending appeal and cannot obtain a dismissal because the

Courts lack authority over them.


      Mr. Wilson falls into the class of those pardoned without an appeal

pending. As a result, his pardon is limited by the discretion of the Executive

Branch. President Trump pardoned Mr. Wilson. The warden of his facility, a

member of the Executive Branch, released Mr. Wilson from prison on authority

of that pardon; thereafter, the warden apparently concluded he erred. Efforts

by the undersigned to reach the warden, or the FBI, or anyone who can speak

for the warden, have thus far been unavailing. The undersigned ﬁled a request

for an order staying any potential order requiring Mr. Wilson to return as a

means of preventing Mr. Wilson from being taken into custody unlawfully.


      As of this moment, there is no case or controversy pending before the

Court, thus depriving it of subject matter jurisdiction. Counsel’s motion for a

stay of any order to require him to report was not a waiver of personal

jurisdiction, and, if so, is expressly NOT waived. The executive branch has



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pardoned him and set him free. Just how they go about regaining lawful custody

of him is an issue the likes of which the undersigned has not yet confronted. He

has found no reported decisions on point.


      One wishes President Trump would see the virtue of consistency in the

clemency process, and issue orders that treated similarly situated persons

similarly. That would require extending pardons to those who received

commutations and seeking a means of eliminating the tortured anomaly

presented by Mr. Wilson’s case.


      For present purposes, Mr. Wilson, who is no longer a defendant and who

has no case pending before this Court, urges the Court to refrain from further

action.



                                    DEFENDANT, DAN EDWIN WILSON



                                    By /s/ Norman A. Pattis, Esq.
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                             CERTIFICATE OF SERVICE
      I hereby certify that on February 7, 2025, I electronically ﬁled the

foregoing with the Clerk of the Court by using the CM/ECF system, which will

send a notice of electronic ﬁling to all counsel of record.



                                            /s/    Norman A. Pattis, Esq.




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